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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

AriZona Williams and Marc Williams, )
                                    )    ORDER FOR STATUS CONFERENCE
              Plaintiff,            )
                                    )
      vs.                           )
                                    )
Walmart Inc.,                       )
                                    )    Case No. 1:20-cv-108
              Defendant.            )
______________________________________________________________________________

       A mid-discovery status conference will be held before the magistrate judge on July 1, 2021,

2021, at 9:00 a.m. The conference will be conducted via telephone conference. To participate in

the conference, counsel shall call the following number and enter the following access code:

       Tel. No.: (877) 810-9415

       Access Code: 8992581

       IT IS SO ORDERED.

       Dated this 3rd day of August, 2020.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate judge
                                             United States District Court
